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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT



UNITED STATES OF AMERICA
     Plaintiff,
                                                          No. 3:19-cr-00064 (VAB)
      v.

ANTHONY WHYTE
AMY SARCIA
     Defendants.


                              JURY VERDICT FORM

                                       COUNT ONE

1.   As to the charge in Count One of conspiracy to possess with intent to distribute and to
     distribute cocaine, heroin, and/or fentanyl, we the Jury unanimously find the defendant
     ANTHONY WHYTE:

                         Not Guilty _____                      Guilty _____

       If you answered Not Guilty to Question 1, proceed to Question 5. If you answered
       Guilty to Question 1, proceed to Question 2.

2.   As to Count One, we the Jury unanimously find that the following quantity of cocaine
     reasonably foreseeable to the defendant ANTHONY WHYTE:

       a) 5 kilograms or more _____

       b) 500 grams or more _____

       c) less than 500 grams _____

       Please proceed to Question 3.

3.   As to Count One, we the Jury unanimously find that the following quantity of heroin
     reasonably foreseeable to the defendant ANTHONY WHYTE:

       a) 100 grams or more _____

       b) less than 100 grams _____



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       Please proceed to Question 4.

4.   As to Count One, we the Jury unanimously find that the following quantity of fentanyl
     reasonably foreseeable to the defendant ANTHONY WHYTE:

       a) 40 grams or more _____

       b) less than 40 grams _____

       Please proceed to Question 5.

5.   As to the charge in Count One of conspiracy to possess with intent to distribute and to
     distribute cocaine and/or heroin, we the Jury unanimously find the defendant AMY
     SARCIA:

                         Not Guilty _____                       Guilty _____

        If you answered Not Guilty to Question 5, proceed to Question 8 If you
        answered Guilty to Question 5, proceed to Question 6.

6.   As to Count One, we the Jury unanimously find that the following quantity of cocaine
     reasonably foreseeable to the defendant AMY SARCIA:

       a) 500 grams or more _____

       b) less than 500 grams _____

       Please proceed to Question 7.

7.   As to Count One, we the Jury unanimously find that the following quantity of heroin
     reasonably foreseeable to the defendant AMY SARCIA:

       a) 100 grams or more _____

       b) less than 100 grams _____

       Please proceed to Question 8.

                                       COUNT TWO

8.   As to the charge in Count Two of possession with the intent to distribute and
     distribution of heroin on October 15, 2018, we the Jury unanimously find the
     defendant ANTHONY WHYTE:

                         Not Guilty _____                       Guilty _____

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      Please proceed to Question 9.

                                      COUNT THREE

9.    As to the charge in Count Three of possession with the intent to distribute and
      distribution of heroin on October 30, 2018, we the Jury unanimously find the
      defendant ANTHONY WHYTE:

                          Not Guilty _____                      Guilty _____

       Please proceed to Question 10.

                                      COUNT EIGHT
10.   As to the charge in Count Eight of possession with the intent to distribute and
      distribution of heroin, cocaine, and/or fentanyl on February 21, 2019, we the
      Jury unanimously find thedefendant ANTHONY WHYTE:

                          Not Guilty _____                      Guilty _____

      If you answered Not Guilty to Question 10, proceed to Question 14. If you answered
      Guilty to Question 10, proceed to Question 11.

11.   As to Count Eight, we the Jury unanimously find that the following quantity of
      cocaine is attributable to the defendant ANTHONY WHYTE:

        a) 500 grams or more _____

        b) less than 500 grams _____

        Please proceed to Question 12.

12.   As to Count Eight, we the Jury unanimously find that the following quantity of heroin
      is attributable to the defendant ANTHONY WHYTE:

        a) 100 grams or more _____

        b) less than 100 grams _____

        Please proceed to Question 13.

13.   As to Count Eight, we the Jury unanimously find that the following quantity of
      fentanyl is attributable to the defendant ANTHONY WHYTE:

        a) 40 grams or more _____



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        b) less than 40 grams _____

        Please proceed to Question 14.

                                       COUNT NINE

14.   As to the offense charged in Count Nine of possession of a firearm in furtherance of a
      drug trafficking crime, we the Jury unanimously find the defendant ANTHONY
      WHYTE:

                           Not Guilty _____                       Guilty _____

        Proceed to Question 15.
                                   COUNT THIRTEEN

15.   As to the offense charged in Count Thirteen of conspiracy to commit money
      laundering, we the Jury unanimously find the defendant ANTHONY WHYTE:

                           Not Guilty _____                       Guilty _____

      If you answered Guilty to Question 15, proceed to Question 16. If you answered Not
      Guilty to Question 15, proceed to Question 18.

16.   As to the offense charged in Count Thirteen of the conspiracy to commit money
      laundering, we the jury unanimously find the defendant ANTHONY WHYTE
      did so with the intent to promote the carrying on of a specified unlawful activity,
      narcotics trafficking.

                           True _____                     False _____

      Proceed to Question 17.

17.   As to the offense charged in Count Thirteen of the conspiracy to commit money
      laundering, we the jury unanimously find the defendant ANTHONY WHYTE
      did so knowing that the transactions were designed in whole or in part to conceal
      and disguise the nature, location, source, ownership, and control of the proceeds
      of specified unlawful activity, narcotics trafficking.

                           True _____                     False _____

      Proceed to Question 18.




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   18.   As to the offense charged in Count Thirteen of conspiracy to commit money
         laundering, we the Jury unanimously find the defendant AMY SARCIA:

                             Not Guilty _____                      Guilty _____

         If you answered Guilty to Question 18, proceed to Question 19. If you answered Not
         Guilty to Question 18, proceed to the end of the verdict form.

   19.   As to the offense charged in Count Thirteen of the conspiracy to commit money
         laundering, we the jury unanimously find the defendant AMY SARCIA did so
         with the intent to promote the carrying on of a specified unlawful activity,
         narcotics trafficking.

                             True _____                    False _____

         Proceed to Question 20.

   20.   As to the offense charged in Count Thirteen of the conspiracy to commit money
         laundering, we the jury unanimously find the defendant AMY SARCIA did so
         knowing that the transactions were designed in whole or in part to conceal and
         disguise the nature, location, source, ownership, and control of the proceeds of
         specified unlawful activity, narcotics trafficking.


                             True _____                    False _____


YOUR ANSWERS MUST BE UNANIMOUS.

Please double check your answers above and then sign and date this verdict form.

____________________________                               ____________________________
Foreperson                                                 Date




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